        Case 1:19-cr-00373-PGG Document 212 Filed 01/27/20 Page 1 of 4
                                         U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 27, 2020

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:       United States v. Michael Avenatti,
                 S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

       The Government respectfully submits this letter pursuant to the Court’s order dated
January 22, 2020, directing the Government to describe the anticipated testimony in the
Government’s case-in-chief of the Office Manager and a forensic accountant with the Federal
Bureau of Investigation (“FBI”). (Dkt. No. 194.)

       I.        The Office Manager’s Expected Testimony

       The Government expects that the Office Manager would provide focused testimony,
summarized as follows (which is not cumulative of the evidence or a stipulation of the fact of
judgments against the defendant, because the testimony connects those judgments to the
defendant’s knowledge, intent, and charged conduct):

             •   The Office Manager worked for the defendant for approximately ten years, ending
                 on the date of his arrest in this case, March 25, 2019.

             •   In March 2019 (as well as for years prior), the Office Manager was responsible for
                 assisting the defendant with managing his law firm’s finances and, on some
                 occasions, with his personal finances. During that period, the defendant and the
                 Office Manager spoke by telephone virtually every day (often more than once), and
                 also communicated frequently by text message and email.

             •   In the weeks preceding March 25, 2019, the Office Manager and the defendant had
                 frequent conversations about the poor financial state of the defendant’s law firm,
                 which was owned by an LLC of which the defendant was the sole member, and
         Case 1:19-cr-00373-PGG Document 212 Filed 01/27/20 Page 2 of 4
Honorable Paul G. Gardephe
United States District Judge
January 27, 2020
Page 2

               debts owed by the law firm to various sources, including a $10,000,000 judgment, 1
               approximately $2.4 million in unpaid bills to the law firm’s vendors (GX 129,
               attached hereto as Exhibit 1), 2 and approximately $11,000 in overdue health
               insurance premiums (GX 111, attached hereto as Exhibit 2). 3

           •   In sum, the Office Manager’s conversations with the defendant included, among
               other things, discussions about how difficult it was for the law firm to continue to
               function given its outstanding debts and how the new law firm that the defendant
               had founded shortly before his arrest, Augustus LLP, would not be able to engage
               appropriately and efficiently in the practice of law if Eagan Avenatti’s debts were
               not paid, because vendors would not be willing to do business with the defendant
               and/or his firm.

           •   In at least early March 2019 through on or about March 19, 2019, the Office
               Manager had several conversations with the defendant about whether the law firm
               would be able to meet its payroll obligations that were due on March 15, 2019 (and
               had similar discussions for a few months prior, as the law firm’s finances
               deteriorated). As part of these communications, the Office Manager sent the
               following text message to the defendant on March 15, 2019: “Know you don’t need
               this today – but let me know what to tell people on payroll.” (GX 102, attached
               hereto as Exhibit 3.) After that text message, the Office Manager and the defendant
               had several conversations in which the defendant, among other things, expressed
               frustration about the law firm’s finances. On March 19, 2019, the defendant’s law




1
    Consistent with the Court’s ruling, the Government intends to propose a stipulation with
respect to this judgment. (Transcript of January 22, 2020 Conference (Dkt. No. 205-2 (“Tr.”)),
at 15 (“I will allow the government to introduce evidence that has not been seriously disputed.
That evidence includes the judgments that had been entered against Avenatti as of March 2019.”).)
Regardless of whether a stipulation is reached or whether the Government offers the judgment into
evidence, the Government will not inquire of the Office Manager about how the judgment (or any
others) arose. (See id. (“I do not intend to admit evidence concerning how these obligations
arose.”).)
2
    GX 129 was found on the defendant’s laptop computer, which was seized at the time of his
arrest. The metadata from GX 129, which the Government intends to offer at trial, reflects that it
was last accessed on the defendant’s laptop on or about March 5, 2019.
3
    GX 111, which was addressed to the Office Manager, was found in hard copy in the
defendant’s briefcase at the time of his arrest.
         Case 1:19-cr-00373-PGG Document 212 Filed 01/27/20 Page 3 of 4
Honorable Paul G. Gardephe
United States District Judge
January 27, 2020
Page 3

                 firm received a $100,000 wire transfer from Geragos & Geragos APC, which was
                 used, in part, to pay the law firm’s payroll (approximately four days late). 4

             •   Sometime between on or about March 15 and on or about March 25, 2019 (at the
                 same time the defendant was engaged in the charged extortion and honest services
                 wire fraud schemes), the defendant called the Office Manager and told her, in
                 substance, that he was about to receive enough money to pay off his personal and
                 business debts. On that call, the defendant sounded enthusiastic and excited, and
                 indicated that, after receiving that money, he would be able to live his life the way
                 he wanted to. 5

       II.       The Forensic Accountant’s Expected Testimony

         The Government anticipates calling an FBI forensic accountant to present brief testimony,
that, in sum, that he has reviewed certain bank records of the defendant and his law firm (the
admissibility of which the defendant has not challenged), and that they show little or no income in
the first four months of 2019. The Government also anticipates offering a simple summary chart
or two showing the same, pursuant to Federal Rule of Evidence 1006. The forensic accountant’s
testimony is expected to be very short and limited to summarizing balances, inflows, and outflows
of the relevant bank accounts.




4
   Consistent with the Court’s ruling that it “intend[s] to exclude evidence that Avenatti owed
money to Geragos” (Tr. 16), the Government will not inquire of the Office Manager about the
Office Manager’s understanding of why this wire transfer was made or whether the funds were
expected to be repaid by the defendant or his law firm (unless the defendant opens the door).
5
    Consistent with the Court’s ruling, the Government will not inquire regarding the Office
Manager’s estimate of the defendant’s total debts as of March 2019. (Tr. 16 (“The office manager
will not be permitted to testify that she estimates that Avenatti’s debts, as of March 2019, totaled
approximately $20 to $25 million.”).)
        Case 1:19-cr-00373-PGG Document 212 Filed 01/27/20 Page 4 of 4
Honorable Paul G. Gardephe
United States District Judge
January 27, 2020
Page 4

                                          Respectfully submitted,

                                          GEOFFREY S. BERMAN
                                          United States Attorney


                                    By:
                                          Matthew D. Podolsky
                                          Daniel C. Richenthal
                                          Robert B. Sobelman
                                          Assistant United States Attorneys
                                          (212) 637-1947/2109/2616

Attachments

cc:    (by ECF)

       Counsel of Record
